
67 N.Y.2d 1004 (1986)
New York Higher Education Assistance Corporation, Respondent,
v.
Peter N. Weissman, Appellant.
Court of Appeals of the State of New York.
Submitted March 24, 1986.
Decided May 8, 1986.
Insofar as movant's submissions can be treated as a motion for leave to appeal from so much of the Appellate Division order of September 12, 1985 as dismissed defendant's appeal, motion for leave to appeal denied. Insofar as the motion seeks leave to appeal from the Appellate Division order denying *1005 defendant permission to appeal to this court, motion dismissed upon the ground that the order does not finally determine the action within the meaning of the Constitution.
